Case 1:18-cv-10933-RA Document 10 Filed 11/30/18 Page 1 of 2
JUDGE ABRAMS

AO 440 (Rev, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
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Manel © Avasio tat} 18CV 10933
Plaintiffs) )
Vv. Civil Action No.
)
)

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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ;
Yanet DPihiwe | a
clr ek Sud gk a £N YS mS
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25 Bea Ver 3h i) a Ef. = ee
Yo, i Oe
A lawsuit has been filed against you. New / Own’ | NY /O0 of

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Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: ’
Manel P. Deensio
Uoo Ee. Sule «ys #298
New Lote NY looL eV

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court. . ,
RUBY J. KRA CK,

NOV 2 1 2018

Date: Nav. 21, 2018

 
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Civil Action No.

PROOF OF SERVICE
(This section should not be Siled with the court unless required by Fed. R. Civ, P. 4 (Y)

This summons for (name of individual and title, ifany) Sn nek D> Fic One

zo Mew Zon ie Stake.
was received by me on (date) Mow. 2 G 20) gg
(MOW . a ,

 

[7 I personally served the summons on the individual at (place)

ee
on (date) 3; or
a

[7 I left the summons at the individual’s residence or usual place of abode with (name)

a
, 4 person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

GW served the summons on (name of individual) Cc: ow & ; who is

 

designated by law to accept service of process on behalf of

(name of organization) Enel “edge New You k
Shr be Tanet dD: Ficte on (date) Ney 2e¢ Z©ig >
Ry BEN Meee

[I returned the summons unexecuted because 3 or

 

Bs Chiee F Cloaks A Legal Covnrel 4
G 3) ES& ~ 4200 Comala t eee ai” ve othe

20 Eaghe C aeet

NAbanw WY. 1226}
My fees are $ @ .6@ for travel and$ {@O< for serviced, for a tot

of $ 10.00

    
 

Server's signature

Printed name and title

 

 

SAMUELT RICHMAN
Notary Public, State of New York
No. 01R16339167
Qualified In Kings County
Commission Expires March 28, 2020

 

 

 

 

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Additional information regarding attempted service, etc: WY coors

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73d uel. “Joy

 
